Case 2:05-cr-20056-SH|\/| Document 113 Filed 09/01/05 Page 1 of 2 Page|D 94

  

UNITED sTATEs DISTRICT coURT men sr y _M _ D_C
wEs'rERN DISTRICT oF TENNESSEE " `
Western Division 05 SEP -| PH 5: 17
UNITEI) sTATEs oF AMERICA "" L'_ -- TOOUHT
W.@ t:t~ §§,tPH;S
-vs- Case No. 2:05cr20056-23Ma
MARCUS MELTON

 

ORDER OF TEMPORARY DETENTION
PENDING HEARING1 PURSUANT TO
BAIL REFORM ACT

Upon motion of the Govemment, it is ORDERED that a detention hearing is set for
TUESDAY, SEPTEMBER 6, 2005 at 10:30 A.M. before United States Magistrate Judge Diane
K. Vescovo in Courtroom No. 5, Third Floor, United States Courthouse and Federal Building,
167 North Main, Memphis, TN TN. Pending this hearing, the defendant shall be held in custody by
the United States Marshal and produced for the hearing.

Date: September 1, 2005 AG ~ §§
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DIANE K. VESCOVO
UNITED STATES MAGISTRATE IUDGE

 

 

1Ifnot held immediately upon defendants first appearance, the hearing may be continued for up to three days upon
motion of the government, or up to five days upon motion of the defendant 18 U.S.C. § 3142(0(2).

A heating is required whenever the conditions set forth in 18 U.S.C. § 3142(t`) are present. Subsection (l) sets forth
the grounds that may be asserted only by the attorney for the govemment; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial officer's own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct justice, or threaten, inj ure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or jure .

AO 470 (8/85} Order of Ternporary Detention

Thl's document entered on the docket$ieet in no

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Notice of Distribution

This notice confirms a copy of the document docketed as number 113 in
case 2:05-CR-20056 Was distributed by faX, mail, or direct printing on
September 15, 2005 to the parties listed.

 

 

Thomas A. Colthurst

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

